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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.                                             Criminal Action No. 1:14-cr-89-21

 TIMOTHY CHARLES BURNETTE,

                   Defendant.

                       OPINION/ REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

 purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

 Timothy Charles Burnette, in person and by counsel, Deanna Pennington, appeared before me on

 February 25, 2015. The Government appeared by Assistant United States Attorney Zelda Wesley.

 The Court determined that Defendant was prepared to enter a plea of “Guilty” to Count Forty-Nine

 of the Indictment.

        The Court proceeded with the Rule 11 proceeding by first placing Defendant under oath.

        The Court inquired of Defendant whether he was a citizen of the United States. Defendant

 responded that he is a citizen. The undersigned asked Defendant whether he understood that if he

 were not a citizen of the United States, by pleading guilty to a felony charge he would be subject to

 deportation at the conclusion of any sentence; that he would be denied future entry into the United

 States; and that he would be denied citizenship if he ever applied for it. Defendant stated that he

 understood.

        The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

 asked the Government to tender the original to the Court. The Court asked counsel for the
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 Government if the agreement was the sole agreement offered to Defendant. The Government

 responded that it was and counsel for Defendant confirmed the same. The Court asked counsel for

 the Government to summarize the written plea agreement. Defendant stated that the agreement as

 summarized by counsel for the Government was correct and complied with his understanding of the

 agreement. The Court ORDERED the written plea agreement filed.

        The Court next inquired of Defendant concerning his understanding of his right to have an

 Article III Judge hear the entry of his guilty plea and his understanding of the difference between an

 Article III Judge and a Magistrate Judge. Defendant thereafter stated in open court that he

 voluntarily waived his right to have an Article III Judge hear his plea and voluntarily consented to

 the undersigned Magistrate Judge hearing his plea, and tendered to the Court a written Waiver of

 Article III Judge and Consent To Enter Guilty Plea Before Magistrate Judge, which waiver and

 consent was signed by Defendant and countersigned by Defendant’s counsel and was concurred in

 by the signature of the Assistant United States Attorney appearing.

        Upon consideration of the sworn testimony of Defendant, as well as the representations of

 his counsel and the representations of the Government, the Court finds that the oral and written

 waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

 voluntarily given and the written waiver and consent was freely and voluntarily executed by

 Defendant, Timothy Charles Burnette, only after having had his rights fully explained to him and

 having a full understanding of those rights through consultation with his counsel, as well as through

 questioning by the Court. The Court ORDERED the written Waiver and Consent to Enter Guilty

 Plea before a Magistrate Judge filed and made part of the record.




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        The undersigned then reviewed with Defendant Count Forty-Nine of the Indictment and the

 elements the Government would have to prove, charging him with use of a telephone to facilitate the

 distribution of oxycodone, in violation of 21 U.S.C. §§ 843(b) and 843(d)(1). The undersigned then

 reviewed with Defendant the statutory penalties applicable to an individual adjudicated guilty of the

 felony charge contained in Count Forty-Nine of the Indictment, the impact of the sentencing

 guidelines on sentencing in general, and inquired of Defendant as to his competency to proceed with

 the plea hearing. From said review the undersigned Magistrate Judge determined Defendant

 understood the nature of the charges pending against him and understood the possible statutory

 maximum sentence which could be imposed upon his conviction or adjudication of guilty on Count

 Forty-Nine was imprisonment for a term of not more than four (4) years; understood that a fine of

 not more than $250,000.00 could be imposed; understood that both fine and imprisonment could be

 imposed; understood he would be subject to a period of at least three (3) years of supervised release;

 and understood the Court would impose a special mandatory assessment of $100.00 for the felony

 conviction payable on or before the date of sentencing. Defendant also understood that his sentence

 could be increased if he had a prior firearm offense, violent felony conviction, or prior drug

 conviction. He also understood he might be required by the Court to pay the costs of his

 incarceration and supervised release.

        The undersigned also reviewed with Defendant his waiver of appellate rights as follows:

 Ct.    Do you understand that under the law, 18 U.S.C. § 3742, you have a right to appeal your

        conviction and your sentence to the Fourth Circuit Court of Appeals by giving appropriate

        notice?

 Def.   Yes, sir.


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 Ct.    Do you also understand that you may file a collateral attack or challenge to the sentence, how

        it was calculated, and how it’s being carried out, by filing a motion–commonly called a

        habeas corpus motion–under various statutes, including 28 U.S.C. § 2255?

 Def.   Yes, sir.

 Ct.    Do you understand that under paragraph 11 of your written plea agreement, fi the District

        Judge’s actual sentence is equal to an advisory Guideline sentence which starts out with a

        base offense level, before adjustments, of 16 or lower, then you give up–you waive–your

        right to appeal that sentence to the Fourth Circuit Court of Appeals under 18 U.S.C. § 3742?

 Def.   Yes, sir.

 Ct.    You also give up your right to collaterally attack or challenge the sentence in a post-

        conviction proceeding, including any proceeding under 28 U.S.C. § 2255.

 Def.   Yes, sir.

 Ct.    The only thing you reserve to yourself as a post-conviction proceeding is your right to claim

        ineffective assistance of counsel or prosecutorial misconduct, is that correct?

 Def.   Yes.

 Ct.    As you sit here today, do you know of any ineffective assistance of counsel?

 Def.   No, sir.

 Ct.    As you sit here today, do you know of any prosecutorial misconduct in your case?

 Def.   No, sir.

 Ct.    Did you intend to give up your valuable rights of direct appeal and collateral attack as set

        forth in paragraph 11 of your written plea agreement?

 Def.   Yes, sir.


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 Ct.    Did you fully understand that paragraph at the time you signed the agreement?

 Def.   Yes, sir.

 Ct.    Has anything about your understanding of that agreement changed–or that paragraph

        changed–since you signed it and today?

 Def.   No, sir.

        From the foregoing colloquy the undersigned determined that Defendant understood his

 appellate rights and knowingly gave up those rights pursuant to the conditions contained in the

 written plea agreement.

        The undersigned Magistrate Judge further examined Defendant relative to his knowledgeable

 and voluntary execution of the written plea bargain agreement, and determined the entry into said

 written plea bargain agreement was both knowledgeable and voluntary on the part of Defendant. The

 undersigned then inquired of Defendant regarding his understanding of the written plea agreement.

 Defendant stated he understood the terms of the written plea agreement and also stated that it

 contained the whole of his agreement with the Government and no promises or representations were

 made to him by the Government other than those terms contained in the written plea agreement.

        The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

 Government as to the non-binding recommendations and stipulation contained in the written plea

 bargain agreement and determined that Defendant understood, with respect to the plea bargain

 agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count Forty-

 Nine of the Indictment, the undersigned Magistrate Judge would write the subject Report and

 Recommendation and would further order a pre-sentence investigation report be prepared by the

 probation officer attending the District Court. The undersigned advised the Defendant that the



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 District Judge would adjudicate the Defendant guilty of the felony charged under Count Forty-Nine

 of the Indictment. Only after the District Court had an opportunity to review the pre-sentence

 investigation report, would the District Court make a determination as to whether to accept or reject

 any recommendation or stipulation contained within the plea agreement or pre-sentence report. The

 undersigned reiterated to the Defendant that the District Judge may not agree with the

 recommendations or stipulation contained in the written agreement. The undersigned Magistrate

 Judge further advised Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the

 event the District Court Judge refused to follow the non-binding recommendations or stipulation

 contained in the written plea agreement and/or sentenced him to a sentence which was different from

 that which he expected, he would not be permitted to withdraw his guilty plea. Defendant and his

 counsel each acknowledged their understanding and Defendant maintained his desire to have his plea

 of guilty accepted.

        Defendant also understood that his actual sentence could not be calculated until after a pre-

 sentence report was prepared and a sentencing hearing conducted. The undersigned also advised,

 and Defendant stated that he understood, that the Sentencing Guidelines are no longer mandatory,

 and that, even if the District Judge did not follow the Sentencing Guidelines or sentenced him to a

 higher sentence than he expected, he would not have a right to withdraw his guilty plea. Defendant

 further stated his attorney showed him how the advisory guideline chart worked but did not promise

 him any specific sentence at the time of sentencing. Defendant stated that he understood his attorney

 could not predict or promise him what actual sentence he would receive from the sentencing judge

 at the sentencing hearing. Defendant further understood there was no parole in the federal system,

 although he may be able to earn institutional good time, and that good time was not controlled by

 the Court, but by the Federal Bureau of Prisons.


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         The Court heard the testimony of Sergeant Joe Adams of the West Virginia State Police’s

 Bureau of Criminal Investigations. Sergeant Adams testified that during the course of this

 investigation, officers received authority, pursuant to a District Court order, to intercept

 communications to a particular telephone number. On June 25, 2014, officers intercepted a

 communication between Defendant and co-defendant Qaaim Clark, one of the individuals using the

 target telephone. Defendant called the telephone from a number officers knew Defendant used.

 Clark answered and asked Defendant for his number. Defendant replied, “42,” meaning 42

 oxycodone pills. Clark advised Defendant that was “good” and told Defendant to go to a residence

 in Southpark where the “Philly boys” dealt from. The communication occurred in Morgantown,

 West Virginia, within the Northern District of West Virginia. Two days later, on June 26, 2014,

 officers intercepted a conversation between Defendant and an individual from Philadelphia in which

 they were “haggling” over the price of the pills. The individual from Philadelphia wanted $29.00

 per pill; Defendant complained that he was not going to make any money at that price. Defendant

 hung up, and after a while, the individual from Philadelphia called Defendant back. They agreed that

 Defendant would purchase 40 pills at $27.00 per pill.

         Defendant stated he heard, understood, and did not disagree with Sergeant Adams’ testimony.

  The undersigned United States Magistrate Judge concludes the offense charged in Count Forty-Nine

 of the Indictment are supported by an independent basis in fact concerning each of the essential

 elements of such offense. That independent basis is provided by Sergeant Adams’ testimony.

         Thereupon, Defendant, Timothy Charles Burnette, with the consent of his counsel, Deanna

 Pennington, proceeded to enter a verbal plea of GUILTY to the felony charge in Count Forty-Nine

 of the Indictment.


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         Upon consideration of all of the above, the undersigned Magistrate Judge finds that

 Defendant is fully competent and capable of entering an informed plea; Defendant is aware of and

 understood his right to have an Article III Judge hear and accept his plea and elected to voluntarily

 consent to the undersigned United States Magistrate Judge hearing his plea; Defendant understood

 the charges against him, not only as to the Indictment as a whole, but in particular as to Count Forty-

 Nine of the Indictment; Defendant understood the consequences of his plea of guilty, in particular

 the maximum statutory penalty to which he would be exposed for Count Forty-Nine; Defendant

 made a knowing and voluntary plea of guilty to Count Forty-Nine of the Indictment; and Defendant’s

 plea is independently supported by Sergeant Adams’ testimony which provides, beyond a reasonable

 doubt, proof of each of the essential elements of the charges to which Defendant has pled guilty.

         The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to Count

 Forty-Nine of the Indictment herein be accepted conditioned upon the Court’s receipt and review of

 this Report and Recommendation.

         The undersigned further directs that a pre-sentence investigation report be prepared by the

 adult probation officer assigned to this case.

         Defendant is released pursuant to the Order Setting Conditions of Release previously entered

 in this matter.

         Any party may, within fourteen (14) days after being served with a copy of this Report and

 Recommendation, file with the Clerk of the Court written objections identifying the portions of the

 Report and Recommendation to which objection is made, and the basis for such objection. A copy

 of such objections should also be submitted to the Honorable Irene M. Keeley, United States District

 Judge. Failure to timely file objections to the Report and Recommendation set forth above will


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 result in waiver of the right to appeal from a judgment of this Court based upon such report and

 recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984),

 cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn,

 474 U.S. 140 (1985).

        The Clerk of the Court is directed to send a copy of this Report and Recommendation to

 counsel of record.

        Respectfully submitted this 2nd day of March, 2015.




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                                                      JOHN S. KAULL
                                                      UNITED STATES MAGISTRATE JUDGE




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